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[Dapndf] [District AP Notice of Deficient Filing]


                                          UNITED STATES BANKRUPTCY COURT
                                             MIDDLE DISTRICT OF FLORIDA
                                                  FT. MYERS DIVISION
                                                  www.flmb.uscourts.gov



In re:                                                              Case No. 9:17−bk−00426−FMD
                                                                    Chapter 7

Franz Josef Rosinus



________Debtor*________/

Luis E. Rivera II, Chapter 7 Trustee




            Plaintiff*


vs.                                                                 Adv. Pro. No. 9:18−ap−00227−FMD


Alico Industrial Venture, LLC

Corkscrew Plantation VII, Inc. a/k/a Corkscrew Plantation VII,
LLC

________Defendant*________/
                                               NOTICE OF DEFICIENT FILING

   On June 12, 2018 a Answer to Complaint and Affirmative Defenses was filed by Alico Industrial Venture, LLC
and Corkscrew Plantation VII, Inc. a/k/a Corkscrew Plantation VII, LLC (Doc. # 4 ). After review, the Clerk noted
the deficiencies indicated below. The deficiencies must be cured within fourteen days of the date of this notice.

       The _____________ does not contain an original signature or proper electronic signature in compliance with
Fed. R. Bankr. P. 9011(a) and/or Local Rule 1001−2.

      A Corporate Ownership Statement required by Fed. R. Bank. P. 7007.1 was not filed by Alico Industrial
Venture, LLC and Corkscrew Plantation VII, Inc. a/k/a Corkscrew Plantation VII, LLC .

        The _______________ was filed by a non−individual without legal counsel admitted to practice in the Middle
District of Florida. Pursuant to Federal Rules of Bankruptcy Procedure 9010(a), a non−individual cannot appear in
these proceedings except through counsel duly authorized to practice before this Court. See Palazzo v. Gulf Oil Corp.,
764 F.2d 1181 (11th Cir. 1985). Failure to retain the services of counsel authorized to practice in the Middle District
of Florida will result in the filed paper being stricken.
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        The filing fee required by 28 U.S.C. § 1930 in the amount of $ ______ has not been paid. Payment shall be
  made by cashier's check or money order payable to Clerk, U.S. Bankruptcy Court at the address indicated below

        The caption of the ____________ is incorrect pursuant to Part VII of the Federal Rules of Bankruptcy
  Procedure.




DATED June 14, 2018                      Sheryl L. Loesch , Clerk of Court
                                         801 N. Florida Ave. Suite 555
                                         Tampa, FL 33602−3899


  *All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two individuals.

  *All references to "Plaintiff" or "Defendant" shall include and refer to multiple plaintiffs or defendants.
